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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


PALO ALTO NETWORKS, INC.,
                                                             Case No. 1:22-cv-02306-ER
Plaintiff,

v.
                                                             NOTICE OF MOTION
TAASERA LICENSING LLC and QUEST PATENT
RESEARCH CORPORATION,                                        ORAL ARGUMENT REQUESTED

Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendant Quest Patent Research Corporation’s Motion to Dismiss Palo Alto Networks, Inc.’s

(“Palo Alto” or “Plaintiff”) First Amended Complaint (D.I. 21) for Declaratory Judgment of Non-

Infringement and the exhibits thereto, the Declaration of John C. Scahill, and all prior pleadings

and proceedings had herein, Defendant Quest Patent Research Corporation hereby moves this

Court, at a time and date determined by the Court, for an order (i) pursuant to 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure (a) granting dismissal of Plaintiff Palo Alto Networks, Inc.

First Amended Complaint (D.I. 21) for Declaratory Judgment of Non-Infringement as against

Defendant Quest Patent Research Corporation in its entirety, and (b) a determination that no alter

ego exists between defendants Taasera Licensing LLC and Quest Patent Research Corporation,

and (ii) granting such other and further relief as the Court deems just and proper.
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Dated: New York, New York
       June 23, 2022
                                   Respectfully submitted,

                                   TARTER KRINSKY & DROGIN LLP


                                   By:    /s/ Mark J. Rosenberg
                                          Mark J. Rosenberg

                                   1350 Broadway, 11th Floor
                                   New York, New York 10018
                                   Tel. (212) 216-8000
                                   Fax (212) 216-8001
                                   mrosenberg@tarterkrinsky.com


                                   Attorneys for Defendant
                                   Quest Patent Research Corporation




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